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                          IN THE UNITED STATES DISTRICT COURT
                         FOR THE SOUTHERN DISTRICT OF FLORIDA

                                 Civil Action No. 9:19-CV-81160-RS

    APPLE INC.,                                     §
                                                    §
           Plaintiff,                               §
                                                    §
    v.                                              §
                                                    §
    CORELLIUM, LLC,                                 §
                                                    §
           Defendant.                               §

                        DEFENDANT’S FIRST SET OF INTERROGATORIES

   TO:    Plaintiff Apple Inc., by and through its counsel of record, Martin B. Goldberg, Lash &
          Goldberg LLP, 100 Southeast Second Street, Miami, Florida 33131, Kathryn Ruemmler,
          Sarang Vijay Damle, Elana Nightingale Dawson, Latham & Watkins LLP, 555 Eleventh
          Street NW, Suite 1000, Washington, DC 20004, Andrew M. Gass, Latham & Watkins LLP,
          505 Montgomery Street, Suite 2000, San Francisco, California 94111, and Jessica Stebbins
          Bina, Latham & Watkins LLP, 10250 Constellation Blvd., Suite 1100, Los Angeles,
          California, 90067.

          Pursuant to Federal Rules of Civil Procedure 26 and 33, Defendant Corellium, LLC

   (“Corellium” or “Defendant”) serve its First Set of Interrogatories (“Interrogatories”) to Plaintiff

   Apple Inc. (“Apple” or “Plaintiff”). Apple shall serve sworn written responses to Corellium within

   thirty (30) days of the date of these Interrogatories. Verified answers responsive to these

   Interrogatories shall be produced to the law offices of Norton Rose Fulbright US LLP, Attn: Brett

   C. Govett, Robert L. Greeson, and Jacqueline G. Baker, 2200 Ross Avenue, Suite 3600, Dallas,

   Texas 75201, brett.govett@nortonrosefulbright.com, robert.greeson@nortonrosefulbright.com,

   and jackie.baker@norton rosefulbright.com.




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   Dated: November 8, 2019              NORTON ROSE FULBRIGHT US LLP
                                        by: /s/ Brett C. Govett
                                                Brett C. Govett (Attorney in Charge)
                                                brett.govett@nortonrosefulbright.com
                                                Texas Bar No. 08235900
                                                Robert L. Greeson
                                                robert.greeson@nortonrosefulbright.com
                                                Texas Bar No. 24045979
                                                Jacqueline G. Baker
                                                Jackie.baker@nortonrosefulbright.com
                                                Texas Bar No. 24109609
                                        2200 Ross Avenue, Suite 2800
                                        Dallas, Texas 75201-2784
                                        Telephone: (214) 855-8000
                                        Facsimile: (214) 855-8200

                                        BERGER SINGERMAN LLP

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                                        Fort Lauderdale, FL 33301
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                                        COLE, SCOTT AND KISSANE, P.A.

                                              S. Jonathan Vine
                                              Florida Bar No. 10966
                                              Justin B. Levine
                                              Florida Bar No. 106463
                                              Lizza Carola Constantine
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                                        West Palm Beach, FL 33401
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                                               COUNSEL FOR DEFENDANT
                                               CORELLIUM, LLC




                                  CERTIFICATE OF SERVICE

          I hereby certify that I served the foregoing document through e-mail on the following

   counsel of record on November 8, 2019:

    Martin B. Goldberg
    mgoldberg@lashgoldberg.com
    Lash & Goldberg LLP
    100 Southeast Second Street
    Miami, FL 33131

    Kathryn Ruemmler
    Sarang Vijay Damle
    Elana Nightingale Dawson
    Latham & Watkins LLP
    555 Eleventh Street NW, Suite 1000
    Washington, D.C. 20004

    Andrew M. Gass
    Latham & Watkins LLP
    505 Montgomery Street, Suite 2000
    San Francisco, CA 94111

    Jessica Stebbins Bina
    Latham & Watkins LLP
    10250 Constellation Blvd., Suite 1100
    Los Angeles, CA 90067

                                                      /s/ Justin B. Levine
                                                     Justin B. Levine
                                                     FBN: 106463




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                             DEFINITIONS AND INSTRUCTIONS

   I.    Definitions

         The following terms shall be given the broadest interpretation allowed under the Federal

   Rules of Civil Procedure, Federal Rules of Evidence, and the Local Rules and shall have the

   following meanings:

         1.     This “Action” means the present lawsuit, Apple Inc. v. Corellium, LLC, No. 9:19-
                cv-81160-RS, pending in the United States District Court for the Southern District
                of Florida.

         2.     “All” should be construed to include the collective as well as the singular and shall
                mean “each,” “any,” and “every.”

         3.     The connectives “and” and “or” shall be construed either disjunctively or
                conjunctively, as necessary, to bring within the scope of the Request all responses
                that might otherwise be construed to be outside the scope.

         4.     “Any” shall be construed to mean “any and all.”

         5.     “Apple,” “Plaintiff,” “You,” and “Your” means Apple Inc. and any of its
                predecessors, successors, divisions, direct or indirect subsidiaries, parent entities,
                or other affiliated corporate entities, as well as agents or Persons employed by or
                acting on any of their behalf or otherwise under any of their control.

         6.     “Communication” or “Communications” means any contact or act by which
                information or knowledge is transmitted or conveyed between two or more Persons,
                entities, or a combination thereof and includes, without limitation: (1) written
                contact, whether by letter, memoranda, e-mail, text message, SMS message,
                iMessage, telegram, telex, or other written or electronic document or file; (2) oral
                contact, whether by face-to-face meetings, telephone conversations or otherwise;
                and (3) nonverbal acts intended to communicate or convey any meaning,
                understanding or other message.

         7.     “Complaint” means the Complaint and Demand for Jury Trial that Plaintiff filed on
                August 15, 2019 in this Action (ECF No. 1).

         8.     “Corellium” or “Defendant” means Corellium, LLC and any of its predecessors,
                successors, divisions, direct or indirect subsidiaries, parent entities, or other
                affiliated corporate entities, as well as any agents or Person employed by or acting
                on any of their behalf or under any of their control. The definition of Corellium
                includes all of Corellium’s employees in their individual capacities, both prior to,
                during, and after their employment with Corellium, and in their capacity as
                Corellium employees during their employment.



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        9.    “Corellium’s Products” means all products, software and hardware, developed,
              produced, or sold by Corellium that enable creation of at least one Virtual Device.

        10.   “Date” means the exact day, month and year, if ascertainable, or the best available
              approximation, including any relationship to other known events (designate
              whether exact or approximate).

        11.   “Dev-fused iPhones” means one or more iOS Devices not sold to the public that
              have one or more Security Measures disabled.

        12.   “Document(s)” means all documents, ESI, and tangible things in the broadest sense
              under Federal Rules of Civil Procedure 34 and Federal Rules of Evidence 1001,
              and includes, without limitation, all writings of any kind, including the originals
              and all non-identical copies, whether different from the original by reason of any
              notation made on such copies or otherwise, including, without limitation, paper
              documents of any kind, correspondence, memoranda, notes, diaries, statistics,
              letters, electronic mail, text messages, electronic files of any type or nature, all other
              forms of electronic communication, telegrams, minutes, contracts, reports, studies,
              text, statements, receipts, returns, summaries, pamphlets, books, prospectuses,
              inter-office and intra-office communications, offers, notations or recordings of any
              sort regarding conversations, telephone calls, meetings or other communications,
              bulletins, printed matters, computer printouts, teletypes, telefax, invoices,
              worksheets, and each and every electronic or paper draft, alteration, modification,
              change or amendment of any kind of the foregoing; graphic or aural records and
              oral representations of any kind, including, without limitation, photographs, charts,
              graphs, microfiche, microfilm, videotape, recordings, motion pictures; and
              electronic, magnetic, mechanical or electric records or representations of any kind,
              including, without limitation, tapes, cassettes, disks, computer generated or stored
              information and recordings. The term “Document” expressly includes electronic
              or magnetic data, and any electronic or magnetic data should be produced in its
              unaltered, native-file format in which such data is ordinarily kept. All documents
              should be produced without alteration and with any and all exhibits and attachments
              thereto. A draft or non-identical copy of any document or record is a separate
              document within the meaning of this term.

        13.   “Electronically Stored Information,” abbreviated as “ESI” has the same meaning
              and scope as it has in the Federal Rules of Civil Procedure and includes, without
              limitation, the following:

              a.      Structured and unstructured data, as those terms are defined in the Sedona
                      Conference Glossary, www.thesedonaconference.org/publications;

              b.      Activity listings of electronic mail receipts and/or transmittals;

              c.      Output resulting from the use of any software program, including, without
                      limitation, word processing Documents, spreadsheets, database files, charts,
                      graphs and outlines, electronic mail, text messages (SMS, MMS or TMS)



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                     iMessages, Blackberry Messenger (BBM), AOL Instant Messenger (or
                     similar program) or bulletin board programs, operating systems, Source
                     Code, PRF files, PRC files, batch files, ASCII files, and all miscellaneous
                     media on which they reside and regardless of whether said electronic data
                     exists in an active file, a deleted file, or file fragment;

              d.     Any and all items stored on computer memories, hard disks, floppy disks,
                     CD discs, DVD discs, flash drives, thumb drives, memory cards, magnetic
                     tape, microfiche, or in any other vehicle for digital data storage and/or
                     transmittal, such as, but not limited to, a personal digital assistant (e.g.
                     Blackberry, Smart Phone or similar device) and file folder tabs, and/or
                     containers and labels appended to, or relating to, any physical storage device
                     associated with each original and/or copy of all Documents requested
                     herein;

              e.     Any and all items stored on voice-mail systems, websites, company intranet
                     sites, chat rooms and social networking websites; and

              f.     Any and all data, data compilations, and data analyses.

        14.   “Foreign” means any country except the United States of America.

        15.   “GUI Elements” means the visual design elements, or graphical user interface
              elements, displayed in iOS Devices, including background wallpaper images,
              icons, and other visual features, and all other visual design elements that appear
              substantially similar to those displayed in iOS Devices.

        16.   “Identify” means that the following information shall be provided:

              a.     When used in reference to a Document, state the (i) type of Document; (ii)
                     general subject matter; (iii) Date of the Document; (iv) authors(s),
                     addressee(s) and recipient(s); and (v) any applicable Bates number(s);

              b.     When used in reference to a product, state: (i) the product’s external and
                     internal product names and numbers; (ii) the date range the product was
                     developed; and (iii) the date range the product was available for sale or
                     license;

              c.     When used in reference to any natural person, state: (i) the person’s full
                     name; (ii) last known home address; (iii) last known business address and
                     telephone number; (iv) last known title or occupation; (v) last known
                     employer; and (vi) if applicable, his or her connection to the subject matter
                     of the request.

              d.     When used in reference to any legal entity, such as a corporation, company,
                     or person other than a natural person, state: (i) the entity’s name; (ii) the
                     place of incorporation or organization; (iii) the last known address and
                     phone number for its principal place of business; (iv) the type of entity (e.g.,


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                     corporation, partnership, trust); (v) the entity’s registered agent; and (vi) the
                     nature of the business conducted by the entity.

              e.     When used in reference to any Communication, state: (i) its date and place;
                     (ii) the Person(s) who participated in it, were present during any part of it,
                     or have knowledge about it; (iii) its form (e.g., telephone conversation, text
                     message, e-mail); and (iv) its content and substance.

        17.   “Including” shall be construed to mean “including without limitation.” “Including”
              is used to emphasize certain examples and should not be construed as limiting the
              Interrogatory in any way.

        18.   The term “iOS Device” means any Apple device or hardware that runs any version
              of iOS, including but not limited to the iPhone®, Mac®, iPad®, Apple Watch®,
              AirPods®, AppleTV®, HomePod™, and iPod Touch®.

        19.   The terms “iOS” or “iOS operating system” means Apple’s iOS mobile operating
              system and other Apple operating systems, including iPadOS™, macOS®,
              watchOS®, and tvOS® operating systems. Unless otherwise specified, this term
              includes any and all versions of iOS, separately or inclusively.

        20.   “Security Measures” means all features of iOS and iOS Devices designed to prevent
              access to software or other material stored on the iOS device, including any
              measures used to protect, encrypt, or otherwise secure applications used by the iOS
              operating system.

        21.   “Source Code” means computer code, scripts, assembly, binaries, object code,
              source code listings and descriptions of source code, object code listings and
              descriptions of object code, Hardware Description Language (HDL) or Register
              Transfer Level (RTL) files that describe the hardware design of any ASIC or other
              chip, and Computer Aided Design (CAD) files that describe the hardware design
              of any component. The scope of this term includes all comments. To the extent
              Source Code is maintained in a repository in the ordinary course of business, the
              scope of this term includes the full repository and not any one version of the
              repository.

        22.   “Person” shall mean any natural person or any legal entity, including, without
              limitation, any business or governmental entity or association.

        23.   “Relating to,” “related to,” “referring to,” “regarding,” or “with respect to,” when
              referring to any given subject matter, means without limitation any information or
              Document that in whole or in part and directly or indirectly relates to, concerns,
              regards, discusses, describes, depicts, demonstrates, shows, evidences, supports,
              refutes, contradicts, summarizes, analyzes, assesses, bears upon, comments upon,
              pertains to, constitutes, comprises, involves, contains, embodies, reflects, alludes
              to, identifies, states, mentions, refers to, deals with, or is any way relevant to the
              particular subject matter identified.



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         24.   “Virtual Device” means software that mimics the physical hardware, functionality,
               and/or look and feel of an iOS Device.

   II.   Instructions

         1.    Please answer the following Interrogatories fully. You shall respond by answering
               each of these Interrogatories in writing and under oath.

         2.    You are required to answer these Interrogatories drawing upon all materials in Your
               possession, custody or control, including material which you have a right to secure
               from any other source. You must provide all information in response to an
               Interrogatory which is known to You, Your agents and representatives or which
               appears in Your records. You must answer to the best of your ability, even if the
               most complete answer would require access to materials beyond Your possession,
               custody or control. If You cannot answer an Interrogatory after conducting a
               reasonable investigation, You should answer to the extent You can, stating what
               information You do have, what information You cannot provide, and what efforts
               You made to obtain the unknown information.

         3.    If any Interrogatory has subparts, answer each subpart separately and fully, and do
               not limit Your answer to the Interrogatory as a whole. If any of these Interrogatories
               cannot be answered in full, answer to the extent possible, specify the reason for
               your inability to answer the remainder of the Interrogatory, and state whatever
               information and knowledge You have regarding the unanswered portion.

         4.    The scope of these Requests for Production is not limited to information that would
               be admissible as evidence before the Court, but includes information that would
               reasonably lead to the discovery of admissible evidence.

         5.    These Interrogatories are continuing in nature and You are required to supplement
               or correct Your responses pursuant to Federal Rule of Civil Procedure 26(e) in the
               event that additional responsive information or materials are obtained.

         6.    In the event You object to any Interrogatory, Your response must: (a) identify with
               particularity any information falling within any category or item in the demand to
               which an objection is being made; and (b) set forth clearly the extent of and specific
               ground for the objection. The objections are to be signed by the attorney making
               them.

         7.    If only part of any item or category is objectionable, Your response shall contain a
               statement of compliance or a representation of inability to comply with respect to
               the remainder of that item or category.

         8.    If You claim any form of privilege, whether based on statute or otherwise, as a
               ground for not answering an Interrogatory or any portion thereof, You shall set forth
               in complete detail each and every fact and ground upon which the privilege is based,
               including sufficient facts for the Court to make a full determination whether the
               claim of privilege is valid.


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        9.    References to an entity include a reference to persons employed by that entity,
              associated in any way with that entity, or otherwise subject to that entity’s control
              (i.e., a request for production seeking “all communications with Company X”
              includes a request for “all communications with persons employed by Company X,
              associated in any way with Company X, or otherwise subject to Company X’s
              control”).

        10.   As used in these Requests for Production, defined terms shall have the meaning set
              forth in the Definitions section above, regardless of whether the defined term is
              capitalized.

        11.   The use of the singular term of any word includes the plural and vice versa.

        12.   The past tense includes the present tense, and vice versa, when the clear meaning
              is not distorted by changing the tense.

        13.   Unless otherwise stated in a particular Interrogatory, the time period for the request
              shall be from January 1, 2011 to the present and continuing into the future.

        14.   If you believe that any term or word used in these requests for production is
              confusing, vague, or ambiguous, you are instructed to use the definition of the term
              or word as contained in the American Heritage Dictionary. In addition, please note
              that should you find any of these requests vague, ambiguous, confusing, or
              otherwise difficult to understand, you should feel free to contact Jackie Baker at
              (214) 855-8048. She will be happy to further explain the precise nature of the
              documents sought by any such request.




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              CORELLIUM’S FIRST SET OF INTERROGATORIES TO APPLE

   INTERROGATORY NO. 1: Describe the complete factual and legal basis for Your contention
   that Corellium has infringed on any of Apple’s asserted copyrights in this Action, including
   identifying all documents You will rely upon in support of such contention.

          RESPONSE:




   INTERROGATORY NO. 2: Describe the factual and legal reasons why Apple did not send any
   cease and desist letters, notices of copyright infringement, or other notices of alleged wrongdoing
   to Corellium regarding Corellium’s products and services prior to filing Your Complaint in this
   Action.

          RESPONSE:




   INTERROGATORY NO. 3: Describe in detail any bugs, exploits, vulnerabilities or other
   software flaws in iOS of which Apple or its employees currently are, or have ever been, aware that
   was submitted by Corellium, Corellium’s Employees, or by any person using Corellium’s
   Products.

          RESPONSE:




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   INTERROGATORY NO. 4: Identify the date when Apple first became aware of Corellium or
   Corellium’s products and services and describe the circumstances under which Apple first became
   aware of Corellium or Corellium’s products and services.

          RESPONSE:




   INTERROGATORY NO. 5: Describe the reasons why Apple was interested in acquiring
   Corellium.

          RESPONSE:




   INTERROGATORY NO. 6: Identify Apple’s opinion of the value of Corellium and Corellium’s
   products and services. For the purposes of this Interrogatory, “value” means, without limitation,
   the monetary amounts Apple considered or contemplated paying for Corellium, Corellium’s
   Products, and Corellium’s Employees, including the monetary amounts ascribed by Apple to the
   non-financial benefits of Corellium, Corellium’s Products, and/or Corellium’s Employees.

          RESPONSE:




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   INTERROGATORY NO. 7: Identify all of the bugs, exploits, vulnerabilities, or other software
   flaws in the iOS operating system that Corellium or any of Corellium’s Employees (individually
   or as Corellium’s employees) have reported to Apple, including the date and content of each report.

          RESPONSE:




   INTERROGATORY NO. 8: Identify all of the payments that Apple has made to Corellium or
   any of Corellium’s Employees (individually or as Corellium’s employees) as a result of all of the
   bugs, exploits, vulnerabilities, or other software flaws in the iOS operating system that Corellium
   or its Employees (individually or as Corellium’s employees) have reported to Apple, including
   whether or not there are any outstanding payments due to Corellium or its Employees (individually
   or as Corellium’s employees) for the reporting of bugs, exploits, vulnerabilities, or other software
   flaws in the iOS operating system and the reasons for such nonpayment. Please include in your
   response why Apple has not paid Corellium for bugs submitted by Corellium along with the value
   of the bugs submitted by Corellium for which no payment was made by Apple.

          RESPONSE:




   INTERROGATORY NO. 9: Identify the value, individually and collectively, that Apple places
   on the bugs, exploits, vulnerabilities, or other software flaws in the iOS operating system that
   Corellium or any of Corellium’s Employees (individually or as Corellium’s employees) have
   reported to Apple, including the date and content of each report.

          RESPONSE:




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   INTERROGATORY NO. 10: Identify: (a) the total number of bugs, exploits, vulnerabilities,
   or other software flaws in the iOS operating system that have been reported to Apple whether or
   not a part of Apple’s Bug Bounty Program; and (b) the total amount of money paid to third parties
   as a result of the reporting of bugs, exploits, vulnerabilities, or other software flaws in the iOS
   operating system whether or not a part of Apple’s Bug Bounty Program.

          RESPONSE:




   INTERROGATORY NO. 11: Describe the legal and factual basis for Apple’s decision to file
   this Action against Corellium but not file any legal actions against the entities that provide similar
   virtualization services as Corellium including, without limitation, FireEye, VMWare, and
   Appetize.io.

          RESPONSE:




   INTERROGATORY NO. 12: Identify and describe Apple’s internal development of
   hypervisor, emulation, simulation, and virtualization hardware and software, including the names,
   relevant dates for such development projects, and Apple employees working on such projects.

          RESPONSE:




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                                           VERIFICATION

   STATE OF

   COUNTY OF


           BEFORE          ME,      the      undersigned       authority,     personally    appeared
   ___________________________, who, after being duly cautioned and sworn, deposes and says
   that he/she has read the above or attached Answers to Defendant’s First Set of Interrogatories and
   that he/she has set his/her hand and seal thereto for the purposes therein expressed.

                                                            ___APPLE INC.


   The foregoing instrument is sworn to and subscribed before me this ____ day of
   _______________, 2019, by ______________________, who is:

   1. _____ Personally known to me.
   2. _____ Who has produced following as identification:

                                                ________________________________________
                                                Printed Name

   Given under my hand and official seal
   This ___ day ________ of 2019.

   My Commission Expires: [Notary Seal]
                                                _____________________________________
                                                Printed or typed name

                                                Dated this ____ day of _____________, 2019




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